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EXHIBIT B
Dr. Kavanaugh declaration
dated April 26, 2017

 

 

 

 
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

DL, et a/., on behalf of themselves
and all others similarly situated,

 

 

 

 

Plaintiffs,
Civil Action No. 05-1437 (RCL)

Vv.

THE DISTRICT OF COLUMBIA,
et al.,
Defendants.

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SECOND DECLARATION OF DR. MICHAEL KAVANAUGH
IN SUPPORT OF PLAINTIFFS’ 2016 FEE APPLICATION

Michael Kavanaugh affirms and states:

1. I have provided several declarations or affidavits in
this case. In my declaration offered in support of
plaintiffs’ 2016 fee application —- found at Plaintiffs’
Exhibit 27 -- I presented my credentials, described
my experience and stated opinions on how to adjust
attorney billing rates for complex federal litigation for
the passage of time. As in my earlier declarations or
affidavits, my opinions here are stated to a
reasonable degree of certainty under the standards
of my profession.

2 I have been asked by plaintiffs’ counsel to examine
several matters raised by the District’s expert Dr.
Laura A. Malowane in her declaration (Def. Ex. 11):
(1) the USAO Matrix 2015-2017;* (2) the ALM Legal
Intelligence 2011 Survey of Law Firm Economics
(2011 ALM SLFE), which provides the rate data for

 

'The USAO Matrix 2015-2017 is the label used by plaintiffs to distinguish the current
USAO Matrix from the earlier matrix that was based on the Laffey Matrix. See:
https://www.justice.gov/usao-dc/file/796471/download, Explanatory Note #4.
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the USAO Matrix 2015-2017; and, (3) data from the
ALM Legal Intelligence 2014 Survey of Law Firm
Economics (2014 ALM SLFE) used by Dr. Malowane
in her declaration. Plaintiffs’ counsel also asked me
to examine: (1) Plaintiffs’ Exhibits 84 and 91, which
set forth the specific 2011 ALM SLFE rates used to
calculate the USAO Matrix 2015-2017; and (2)
Plaintiffs’ Exhibit 79 which updates rate data
collected by Valeo Partners (Valeo).? After my
examinations, I continue to maintain my opinion that
the LSI Laffey Matrix is a better reflection of the
prevailing market rates for complex federal litigation
in Washington, D.C., than the USAO Matrix 2015-
2017.

3. In my last declaration in this case, Plaintiffs’ Exhibit
27, I addressed the LSI Laffey Matrix and the USAO
Matrix 2015-2017 by looking at the underlying
surveys and the two price indices that are used to
adjust the rates for the passage of time.* I
examined the surveys and price indices and opined
that: there is no material difference between the
price indices used to adjust the surveyed rates;° so
the difference in estimates of prevailing market rates
is due to differences in the underlying survey.

4. The 2011 ALM SLFE and the 2014 ALM SLFE are
nonprobability convenience samples.® A convenience

 

? See: https://www.justice.gov/usao-dc/file/79647 1/download, Explanatory Note #2.
3 The update uses the Producer Price Index-Office of Lawyers (PPI-OL).

* The LSI Laffey Matrix is based on the 1989 update of the Laffey Matrix conducted
at the suggestion of the court of appeals in Save Our Cumberland Mountains v.
Hodel, 857 F.2d 1516 (D.C. Cir. 1988)(en banc) by Joseph A. Yablonski (Pl. Ex. 33).
The LSI or Legal Services Index is used to adjust this matrix. The PPI-OL is used to
adjust the 2011 ALM SLFE data for the USAO Matrix 2015-2017. See:
https://www.justice.gov/usao-dc/file/796471/download, Explanatory Note #2.

> See my last declaration, Plaintiffs’ Exhibit 27 at 11 and its Attachment 2.

® Generally, sampling methods may be described as either probability or
nonprobability. In probability samples, each member of the population has a known
chance of being selected. Probability methods include random sampling, systematic
sampling, and stratified sampling. The advantage of probability sampling is that
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sample selects elements of the sample because they
are easy to obtain, (e.g., the respondents mailed the
results back or answered question on a web site, or
they were interviewed while shopping). The purpose
is to obtain data conveniently, (perhaps for use to
design another type of sample). For the ALM
surveys, the purpose is to provide a set of economic
and financial data that offers a description of the
legal profession. The method is to organize and
report the observations on the returned
questionnaires.

5. The 1989 Laffey Matrix survey is a nonprobability
expert sample. In an expert survey, respondents
are selected on the basis of a judgment of a
knowledgeable person. Here the purpose was to find
billing rates for complex federal litigation. Its
method was to identify attorneys performing
complex federal litigation and interview them.’

6. The USAO Matrix 2015-2017 uses standard hourly
billing rates for the Washington, D.C., metropolitan
area drawn from the 2011 ALM SLFE. It adjusts
those rates for the passage of time using the PPI-
OL.

7. The 2011 ALM SLFE was designed to provide a set of
economic and financial data about the legal

 

sampling error can be calculated. Sampling error is an estimate of how much a
sample might differ from the population. So when inferences made from the sample
are applied to the population, the results are reported plus or minus the sampling
error.

In non-probability samples, members are selected from the population in a
specified, non-random way. These methods include convenience sampling and expert
sampling which are described below. When inferences made from the sample are
applied to the population, the results are not and cannot be reported plus or minus
the sampling error.

7In preparing the 1989 update to the Laffey Matrix, Mr. Yablonski used a procedure
comparable to the one used by Daniel Rezneck when he conducted the expert
sample underlying the original Laffey Matrix (See First Affidavit of Daniel Rezneck
from the Laffey case, Pl. Ex. 30).

* See: https://www.justice.gov/usao-de/file/796471/download, Explanatory Note #2.
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profession.® It does not provide a separate sample
of rates for that part of the profession that practices
complex federal litigation.

8. It is a simple economic principle that comparable
prices are found by observing comparable goods. In
preparing an offer for a luxury car, for example,
prospective buyers seeking a comparable price do
not look at car prices for cars of all sizes and types,
they do not look at the whole automobile market.
Instead, comparable prices are sought from the
prices of comparable luxury cars. The same is true
for attorneys. The price for DWI/DUI legal defense
work is not comparable to the price for complex
federal litigation. The attorneys in these two
markets command different prices and their skills are
not ready substitutes.

9. Dr. Laura Malowane has described the data from the
2011 ALM SLFE underlying the USAO Matrix 2015-
2017 as consisting of “actual average billing rates of
attorneys in the Washington, DC area from law
offices of all sizes and types.”?°

10. The use of a rate survey consisting of “billing rates of
attorneys in the Washington, DC area from law
offices of all sizes and types” to establish prevailing
billing rates for conducting complex federal litigation
is a serious defect. This is because complex federal
litigation is not practiced at all types of law firms.
Moreover, including rates for conducting all types of
representation obscures the billing rates for complex
federal litigation.

 

9 See: 2011 ALM Survey, p. 5 (Pl. Ex. 81).

10 See Declaration of Dr. Laura A. Malowane at 12 in Makray v. Perez (U.S.
Secretary of Labor) Civil Action No. 12-0520 (BAH)(ECF No. 88-1)(PI. Ex. 99). In
her declaration in this case, Dr. Malowane describes this less fully. She omits the
reference to all types of firms. See Def. Ex. 11 at 46. See also 922 of this
declaration.
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11. The 2011 ALM SLFE obscures rates data for complex
federal litigation by combining rates from complex
litigation with rates from non-complex litigation. The
2011 ALM SLFE on page 14, provides the distribution
of the law firms participating in its survey. For the
South Atlantic region, of which the District of
Columbia is a part, twenty-six of the forty-one firms
identified their practice area as General Law.'* Only
seven of the forty-one firms identified their practice
area as litigation. Five of the seven identified as
Insurance Defense Litigation. Often, such litigation
is not complex federal litigation. ??

12. This defect is intensified here because plaintiffs’
counsel are located in Washington, D.C., while the
rates data underlying the USAO Matrix 2015-2017
are for the Washington, D.C., metropolitan area.??
The 2011 ALM SLFE bases its geographic areas on
the “definitions determined by the U.S. Office of
Management and Budget (OMB) as applied to U.S.
Census Bureau data.”’* The Washington, D.C.,
metropolitan area as defined by these sources
includes the District of Columbia, Virginia, West
Virginia, and Maryland.*°> As the geography of the
survey area expands, the composition of the data or
product mix changes. Data limited to the District of
Columbia likely included some rates for complex
federal litigation and some rates for non-complex
representation, but as the geography is expanded
the composition or product mix changes to include

 

" See: 2011 ALM SLFE, pp. 13-14 (Pl. Ex. 81).
2 Second McEwen Aff. (PI. Ex. 73), at 915.

® As explained in the Second Pravlik Affidavit (PI. Ex. 70), Plaintiffs’ Exhibit 91 was
obtained from the Department of Justice (of which the USAO is a part) pursuant to a
FOIA request seeking the ALM rates underlying the USAO Matrix 2015-2017. As also
explained by Ms. Pravlik in her affidavit, Plaintiffs’ Exhibits 84 and 91 provide the
same rates data by experience level for 2011 for the Washington, DC, metropolitan

area. Dr. Malowane relied upon plaintiffs’ Exhibit 84 in preparing her declaration in
this case. See Pl. Ex. 85.

“See: 2011 ALM SLFE, p. 10 (PI. Ex. 81).

15 See: Second Pravlik Affidavit (PI. Ex. 70), para. 6; Pl. Ex. 92.
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more practitioners of other types of legal services,
such as DWI/DUI defense, wills and trusts, and
simple bankruptcies. The more data added for
services other than complex federal litigation, the
more the product mix of complex federal litigation to
non-complex federal litigation shifts toward non-
complex federal litigation. As the product mix shifts
toward non-complex federal litigation, this dilutes
the rates and reduces the degree to which the data
reflects rates for complex federal litigation. Thus,
the use of geographically expanded data dilutes the
rates for complex federal litigation beyond that
addressed above.’®

13. Some of this dilution can be seen by comparing the
data in: (i) Plaintiffs’ Exhibit 91 which provides the
rates underlying the USAO Matrix 2015-2017 (the
broader D.C. metropolitan area); with, (ii) the data
on page 143 of the 2011 ALM SLFE which shows
rates by experience level only for the District of
Columbia itself.’” The rates for the District of
Columbia itself are higher at each experience level
(where rates are provided) than the rates in
Plaintiffs’ Exhibit 91. For example, the average rate
for the “31 or More Years” experience level is $570
for the District of Columbia itself on page 143 of the
2011 ALM SLFE and it is $503 on Plaintiffs’ Exhibit 91
(the broader D.C. metropolitan area). The ninth
decile rate for this experience level is $763 for the
District of Columbia itself. *®

 

'§ As can be seen from comparing the “Number of Offices” and the “Number of
Lawyers” columns on page 143 (PI. Ex. 81) and Plaintiffs’ Exhibit 91, many more
lawyers and offices from outside the District of Columbia are represented in the data
for the Washington, DC, metropolitan area than in the data for the District of
Columbia alone. For example, at the “21 to 30” experience level, data for 83 lawyers
is Included in the rates for the Washington, DC, metropolitan area. Only 35 of those
lawyers are located in the District of Columbia. Therefore, the data for more than
half of the lawyers comes from outside of the District of Columbia.

'7 Although page 143 of the 2011 ALM SLFE (Pl. Ex. 81) lacks data for two experience
levels, a comparison between it and Plaintiffs’ Exhibit 91 can still be drawn.

'8 See the discussion about the ninth decile rates in paragraph 16 below.
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What is needed to estimate prevailing market rates
for complex federal litigation is a survey of billing
rates for conducting complex federal litigation. The
2011 ALM SLFE is not designed for this purpose. It
is a survey designed to provide economic and
financial data about the legal profession.

Since the USAO Matrix 2015-2017 rates are derived
from the broad 2011 ALM SLFE survey and since
complex federal litigation is performed by only a
narrow part of the legal profession, it is incorrect to
use the broad-based USAO Matrix 2015-2017 rates
to find prevailing market rates for the narrow part of
the legal profession, the part that performs complex
federal litigation.

Dr. Malowane acknowledges the inappropriateness of
using rates for all types of legal work in a later part
of her declaration. She examines the rates for
litigation specialization in the 2014 ALM SLFE and
compared those rates to the USAO Matrix 2015-2017
and the LSI Laffey Matrix rates. For this comparison,
she states, “Since complex federal litigation may
have some of the higher rates in the litigation
specialty, I also looked at the rates charged by the
top 10% of attorneys in the nation for litigation
services.”!? The top 10% rates are shown in the
2014 ALM SLFE in the ninth decile column.”° The
2011 ALM SLFE has ninth decile rates for the District
of Columbia.” The ninth decile rate for the top
experience level is $763. If that rate is adjusted in
the same manner as the USAO Matrix 2015-2017
updates the 2011 ALM SLFE data, then the updated
rate is $879. This adjusted rate is higher than the

 

” Def. Ex. 11 at 417.

° 2014 ALM SLFE, p. 9 (PI. Ex. 96). Page references to Plaintiffs’ Exhibit 96 refer to

the page numbers at the bottom of the page, not to the ECF stamp from a previous
filing at the top of the page.

212011 ALM SLFE, pp. 10, 143 (Pl. Ex. 81).
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top rate of $826 in the LSI Laffey Matrix.

An appropriate way to find billing rates for complex
federal litigation is to begin with a survey of
prevailing rates for complex federal litigation and
then adjust those rates for the passage of time. The
LSI Laffey Matrix is based on a survey of rates for
performing complex federal litigation. (See Yablonski
declaration, Pl. Ex. 33). It is adjusted for the
passage of time by using the LSI, which as
addressed in my last declaration in this case, is
comparable to the PPI-OL.

In my previous declaration (Pl. Ex. 27), I performed
a test that compared the rates from an adjusted LSI
Laffey Matrix to the billing rates in the summary of
affidavits and court documents collected by plaintiffs’
counsel of prevailing market billing rates charged by
Washington, D.C., firms in 2015 and 2016. The
rates in these documents provide additional evidence
of prevailing market rates in Washington, D.C. (PI.
Exs. 47-49). The evidence shows that the adjusted
LSI Laffey Matrix produces a better approximation of
prevailing rates for complex federal litigation in the
Washington, D.C., market than the USAO Matrix
2015-2017.

In this declaration, I present another test. Plaintiffs’
Exhibit 53 includes rates data from Valeo. Plaintiffs’
counsel adjusted the Valeo data for the passage of
time using the PPI-OL index in the same manner that
the USAO Matrix 2015-2017 updated the 2011 ALM
SLFE data. See Plaintiffs’ Exhibit 79.

I have reviewed Plaintiffs’ Exhibits 79. My review of
Plaintiffs’ Exhibit 79 did not evaluate whether the
Valeo data was entered and sorted correctly. I
assumed that the data are correctly entered and
sorted. I did confirm that plaintiffs’ counsel adjusted
the rates in the same manner as the USAO Matrix
2015-2017. The results show that the adjusted
Valeo rates are higher than the LSI Laffey Matrix
rates. The adjusted Valeo rates data demonstrates
that the rates in the LSI Laffey Matrix are a better
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reflection of the prevailing market rates for complex
federal litigation in Washington, D.C., than the rates
in the USAO Matrix 2015-2017.

21. The adjusted Valeo rates provide another validation
of the LSI Laffey Matrix. This is because the Valeo
data are limited to complex federal litigation’? while
the USAO Matrix 2015-2017 that is based on the
2011 ALM SLFE is not limited to complex federal
litigation.

22. As mentioned in paragraph 9 above, Dr. Malowane
claims that the rates in the 2011 ALM SLFE are
“actual” billing rates.7? It appears that Dr. Malowane
is attempting to distinguish between standard rates
and actual rates. Dr. Malowane is incorrect.
Plaintiffs’ Exhibit 84, which she relied upon in
preparing her declaration and which is the same as
Plaintiffs’ Exhibit 91, states that it provides
“Standard Hourly Billing Rates.”“4

23. In my earlier declaration (Pl. Ex. 27 at J 13-15), I
stated that it is appropriate to use either the LSI or
the PPI-OL to adjust for the passage of time. Either
index provides the national rate of price change for
legal services. I gave as one of the reasons why I
thought a nationally based index was appropriate the
fact that the market for complex federal litigation in
Washington, D.C., is a national rather than a local
market. I stated that it was a national market
because “Washington, D.C., area law firms compete
with law firms in other areas such as New York,
Philadelphia, Chicago, Dallas, and San Francisco.” In

 

2 See: Declaration of Mark F. (Thor) Hearne, Pl. Ex. 53 at 418.
3 See: Def. Ex. 11 at 96.

* Page 16 of the 2011 ALM SLFE instructions (PI. Ex. 83, unnumbered page after
page 15), directs the survey participant to provide in Column J the individual's
standard hourly rate. Page 10 of the instructions refers to standard and actual rates
independently so the 2011 ALM SLFE does not treat these rates as being
synonymous. Page 143 of the 2011 ALM SLFE (PI. Ex. 81) and Plaintiffs’ Exhibit 91
both report standard rates data, not actual rates data.
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response to this statement, Dr. Malowane (Def. Ex.
11 at 417-20) compared the LSI Laffey Matrix rates
and the USAO Matrix rates for 2015 to the national
rates for litigation in the 2014 ALM SLFE in order to
demonstrate that the USAO Matrix rates are more
representative than the LSI Laffey Matrix rates.

24. Dr. Malowane’s comparison is flawed. The data that
Dr. Malowane relies upon are not limited to complex
federal litigation. Dr. Malowane’s Table 2 is titled
“National Litigation Billing Rates vs Matrix Rates”.
The “National Litigation Billing Rates” are from the
category “other litigation” in the 2014 ALM SLFE.7°
There is no reason to conclude that “other litigation”
is only complex federal litigation. It presumably
includes non-complex and non-federal litigation. In
fact, Dr. Malowane explains that although the 2014
ALM SLFE “breaks down litigation rates by sub-
specialty,” “complex federal litigation is not part of
the breakdown.”© The inclusion of these other
litigation rates obscures the rates for complex federal
litigation and reduces the rates. Although the data
she cites is limited to litigation, it does not cure the
problem of being too broad because the litigation is
not limited to complex federal litigation.

25. Since the 2014 ALM SLFE litigation rates data are too
broad in type of services, they do not constitute a
valid data set to test whether the LSI Laffey Matrix
or the USAO Matrix 2015-2017 is the better
estimator of the prevailing market rates for complex
federal litigation in Washington, D.C.

26. Dr. Malowane attempts to overcome problems with
the “other litigation” data in the 2014 ALM SLFE by
examining only data for a subset of the ALM survey—
billing rates for bankruptcy representation—and
argues that these rates more closely approximate
the USAO matrix rates than the LSI Laffey Matrix.

 

>See: 4/10/2017 Email from Chad Copeland (PI. Ex. 108).

6 Def. Ex. 11 at 919.

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29.

Dr. Malowane does not present evidence that the
bankruptcy litigation in her comparison is for
complex litigation.2” She does note that in the 2014
ALM SLFE bankruptcy is described as “one of the
highest paying sub-specialties.”2° As with the
general litigation data, the bankruptcy litigation data
is too broad. While some bankruptcy representation
may require the same skills as other complex federal
litigation, not all bankruptcies require the skills
needed for complex federal litigation.?? If the billing
rates for litigating bankruptcy are to be a proxy for
complex federal litigation, then including billing rates
for simple bankruptcies reduces the reported
combined (simple plus complex) billing rates and
thereby biases downward the estimates of billing
rates for complex federal litigation.

My review of the 2014 ALM SLFE shows it
distinguishes between litigation and non-litigation
bankruptcies.2° It asks the respondents to report
how bankruptcy representations are staffed.** It
asks the respondent to forecast the likely future
importance of bankruptcy representation to the
firm.??. These results provide interesting information
about the legal profession but the results are not
relevant to establishing prevailing rates for
performing complex federal litigation.

Further, the 2014 ALM SLFE does not identify other
factors that could influence rates such as whether
the rates charged for bankruptcy representation are
for:

 

7See: Def. Ex. 11 at 419.

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29 See Second MacEwen Aff. (PI. Ex. 73), at 914.

© See: 2014 ALM SLFE, p. 7 (PI. Ex. 96).

31 op cit. pp. 155-168.

32 op cit. pp. 19-21.

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corporations or households,

complex or simple cases,

contested or uncontested cases,

administrative work,

cases that have a large number of creditors,

cases with creditors represented by other

attorneys,

cases that have a long duration,

e cases that are eligible for in-house
representation,

e cases that require knowledge of a particular
industry, or,

e cases that require advice on restructuring.

30. Dr. Malowane’s use of the bankruptcy data from the
2014 ALM SLFE as a proxy for complex federal
litigation rates produces results that are not reliable.
Her assumptions are that: all bankruptcy litigation is
complex litigation (this is not so, as addressed above
in paras. 27 and 29); and, that the standard rates
for complex federal litigation are indicated by the
standard rates published in the ALM survey for
bankruptcy litigation (ALM Specialty Code 201). This
may not be so. The ALM survey may be reporting
some of the rates for bankruptcy litigation as
bankruptcy litigation (ALM Specialty Code 201); and
some of the bankruptcy rates as rates for practicing
in the multiple practice areas (ALM Specialty Codes
127, 227 or 300). (This is explained below in 931.)
These considerations diminish the confidence in the
belief that the ALM bankruptcy rates represent
prevailing market rates for complex federal litigation.

31. The instructions for the 2014 ALM SLFE request the
responder to indicate “each individual’s most
commonly assigned (standard) hourly rate on
1/1/2014."°3 The instructions also request that only
one “Specialty Code” be assigned for each lawyer.**

 

See: 2014 ALM SLFE Submission Form Instructions and Worksheets, p. 13 (Pl. Ex.
98)

* op cit. p.13.

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32.

There are fifty-seven “Specialty Codes” divided
between non-litigation and litigation. The
instructions direct that for a code to be assigned,
“[La]n individual must spend 50% or more of their
billable time in this area.”*> However, an attorney
with a diverse practice that includes significant
bankruptcy litigation may nonetheless appropriately
respond with the ‘multiple litigation’ specialty (Code
227), or ‘multiple non-litigation (code 127)’ or
‘multidisciplinary (Code 300)’ because no single
specialty makes up 50% or more of her practice.
When this happens the “multiple” categories (127,
227, 300) will be comprised of standard rates
charged from specific categories (e.g., Code 201
bankruptcy - litigation). Some bankruptcy rates are
lost to a multiple category. This underreporting may
result in an increase or a decrease in the published
bankruptcy rate. This uncertainty diminishes the
confidence that the reported standard rate for a
specialty represents the prevailing rate for a
specialty.*°

Dr. Malowane’s use of the bankruptcy standard rates
in the 2014 ALM SLFE as a proxy for complex federal
litigation rates produces unreliable results for
another reason. The 2014 ALM SLFE data are unclear
about how standard rates are influenced by
complexity and litigation. Look at the rate data for
non-litigation bankruptcy*” and for litigation
bankruptcy.*® Compare the standard billing rates at
the ninth decile for attorneys with >20 years
experience for non-litigating representation with
those for litigating representation. The non-litigating
standard rate exceeds the litigating standard rate.

 

35 gp cit. p.13 (emphasis in original).

3€ In contrast, plaintiffs’ prevailing market rates information is based on sworn
statements submitted to a federal court that a particular lawyer charges a particular
rate in litigation before the court in which a party is seeking a fee award.

37 See: 2014 ALM SLFE 2014 p. 158 (PI. Ex. 96).

38 See: op. cit. p. 165.

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Why does this happen? It could be that experienced
attorneys who /itigate bankruptcies more than 50%
of the time are handling simple bankruptcies
(households, a few creditors, etc.) while experienced
attorneys whose specialty is non-litigation
bankruptcies are representing corporations in
complex matters involving restructuring and
numerous creditors. So which rate should be used
to indicate complex federal litigation? The rate for
complex representation or the rate for litigation?
The one with litigation in the title or the one that
may be representing complex matters? I conclude,
again, that the bankruptcy data in the 2014 ALM
SLFE do not provide a consistent indicator of
complexity and do not provide a reliable indicator of
prevailing market rates for complex federal litigation.

33. The 1989 update to the Laffey Matrix conducted at
the suggestion of the court of appeals in Save Our
Cumberland Mountains v. Hodel, 857 F.2d 1516
(D.C. Cir. 1988)(en banc),?° was designed to elicit
billing rates for complex federal litigation. It was an
expert survey that targeted attorneys who were
performing complex federal litigation and asked for
billing rates for defined levels of experience.

34. Simply put, all surveys are not alike. The ALM SLFE
surveys and the survey for the 1989 update of the
Laffey Matrix served different purposes. They
surveyed different populations. Their results are not
substitutes for one another. An updated 1989 Laffey
Matrix does not provide a set of economic and
financial data about the entire legal profession; and,
the ALM SLFE surveys (2011 and 2014) do not
provide reliable estimates of prevailing rates for
complex federal litigation.

35. My billing rate for the preparation of this affidavit is
$250/hour.

 

* See: Declaration of Joseph A. Yablonski, Pl. Ex. 33.

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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury
that the foregoing is true and correct. This document executed

on April 26, 2017.

MICHAEL KAVANAUGH, PhD

 

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